Case 1:12-cv-00329-.]AWSD§ument 1 Filed 10/25/12 Page 1 of 7 PagelD #: 1

ANN§§W

COMPLA|NT

OCtOber 24, 2012 :` '? ""-' ":_f'] F§_-' :,?

Dear Honorable District Court Judge,

l am submitting to you a claim against the United States Veterans Administration,
Togus Hospital about the time l spent waiting for cervical spine surgery unnecessarily. l
understand that l filed the Federal Tort Claim after the time expired with the Statute of
Limitations. T he Regional Counsel denied my claim twice because of the law that l had
no previous knowledge of and the timeframe from which to tile a claim.

| am filing this claim with you without representation of counsel. l understand that
it is recommended that l have a lawyer, and l have made several attempts with a
number of law firms to seek an attorney, but each time, l would be denied this benefit
once they learned about the expiration of the Statute of Limitations. l believe that once
you have seen the evidence in this case, you will overturn the decision made by the
Regional Counsel.

l want to talk about the settlement amount that l came to a decision on. l have
never filed a claim of any kind like this before, and had no idea how much l should ask
for when l filed Standard Form 95. Mr. Bruce Williams, an attorney at the Togus
Regional Counsel Office in Augusta, ME instructed me to choose the highest amount l
would be satisfied with. Mr. Williams also suggested including an additional amount that
would cover a 20% Attorney Fee. So the amount l came up with, $4,200,000 includes
this 20% attorney fee thus making my settlement amount $3,500,000. l want you to
know Your Honor, that l will accept whatever amount you determine l should be
awarded whether it is three-quartersl half, or even if it is one-quarter of the amount l
specified. l just want the Veterans Administration to take a little responsibility for the
period of time l endured in waiting for the urgently-needed surgery.

ln December 2007, about a week before Christmas, my neck suffered what was
believed to have been a fracture that occurred while l was clearing snow with a shovel
from the walkway at my house. There was a series of severe winter storms that hit
Maine the week before Christmas, and lthe weight of the snow, along with the height at
which the pile had reached for me to throw the snow over led to the accident. l went to
the Emergency Room at Togus Hospital and had an X-Ray taken. |n reading the results,
they determined that something “serious” had happened in my cervical spine, but
needed a better image to determine this. An MR| was then scheduled, but not until

Case 1:12-cv-00329-.]AW Document 1 Filed 10/25/12 Page 2 of 7 PagelD #: 2

February 2008, and l was referred to the Neurosurgery C|inic for follow-up care. Before l
go into the events l am claiming, l would like to take a little time to take you back to what
led to the neck breakage in addition to other problems that have worked against me
before and after December 2007.

ln May 1990, l was driving my car in Augusta, ME. l was at the Cony Circle
Rotary looking to exit onto Stone Street and head East onto Route 17. A car was in front
of me that was waiting to proceed in the same direction. He was moving forward, when
he saw a car coming off the rotary to his/her left and stopped. l saw that car stop and
applied the brakes for myself to stop before hitting it. However, the car that was behind
didn’t see me stop and l was rear-ended. l had a passenger with me. As l stopped, l
looked in my rearview mirror to see the car behind me wasn’t going to stop in time. l
placed my right arm out to try to prevent the passenger from going into the dashboard
when we were struck. The passenger was unhurt, but l suffered a severe whiplash of 2
discs. They were herniated and l did some physical therapy with a traction device to try
to straighten the discs. At the time of the accident, l was employed by the State of
Maine, was a member of the Army Reserves, and held other odd jobs. Over the years
that followed, l had seen several chiropractors to try to relieve the pain from the neck
and the right trapezius muscle. Along with these complications, l was starting to get
numbing and tingling sensations going down the right arm. Some of the work l had been
doing involved physical labor, and when l did work that required reaching out,
stretching, or grabbing objects above my head, | would end up in severe pain.

About 3 years after the accident and while still a member of the Army Reserves,
word was given that the unit was going to be deactivated. instead of leaving the service
all together, l transferred to the Maine Army National Guard. With this new unit, more
physical exertion was required on my body with the weight of field gear placing
additional stress on the neck, and it eventually led to the end of my military service. l
was Honorably Discharged under Medica| Conditions that will later include a retirement
when l reach age 60. But l never received a disability rating.

ln 1999, l had another major medical event that would change my life in a
different way. A kidney stone was found in my left kidney, but doctors were more
concerned about a solid mass growing on my right kidney. This eventually led to the
removal of the right kidney and learning that l have a genetic disease called Tuberous
Sclerosis. After this finding, other health issues surfaced that included Diabetes, and
Sleep Apnea.

ln October 2005, l voluntarily left my job with the State of Maine because of the
problems l knew l was having with ADHD and wanted to save the embarrassment of

Case 1:12-cv-00329-.]AW Document 1 Filed 10/25/12 Page 3 of 7 PageiD #: 3

being fired. l thought l could go right into anotherjob l was very weil adept to in typing at
a high rate of speed of accuracy, and plenty of administrative experience and figured it
should be easy enough for me to get back into the clerical field. But l left at a time when
our country was starting to fail into severe economic times. The inability l had in finding
suitable employment greatly took its toll on me and my confidence. All l could find was
part-time, temporary, or seasonal work. The multitude of health issues has been
weighing in heavily, especially with ADHD. l have a lot of problems staying focused and
keep my mind from drifting in what’s been bothering me, things in my past, and staying
with the present. All of this made it difficult find the work needed to be productive again.
l was also developing severe depression, stress, and anxiety.

Two years had passed since my last full time l was trying everything l could to
find work, even going to the Washington, D.C. area with no success. l returned to Maine
and managed to return to work with L.L. Bean as a seasonal empioyee.

in January 2008, l went to the Neurosurgery C|inic and met with Jessica Forti.
We discussed what happened to my neck a couple weeks before. She examined me,
had me move my head in different directions, and decided at that point that l was
suffering from no more than a severely strained neck. l disagreed with her and said that
l believed my neck to be broken. Ms. Forti would continue to disagree and tell me that if
it was broken, l wouldn’t be able to move the head. A few weeks later in February 2008,
l had the MR| completed and returned to the clinic for a follow up on the results. Ms.
Forti pulled up the image on her computer and with one look at it; she then said that l
would need surgery right away. The image clearly showed C-4, C-5, and C-6 were
crushed and shattered. My spinal cord was also severely damaged from the discs
pushing and putting weight on it, giving the cord a fiattened and unnatural appearance.
it also showed that the cord was very close to be severed. The reason l could still move
my head was because it is C-‘i, the bone in the shape of a ring, which is responsible for
allowing the head to rotate and not C-4, C-5 or C-6.

Ms. Forti then started to inform me that Togus did not have a qualified
Neurosurgeon on its staff to perform the surgery, but mentioned a surgeon from St.
Mary’s Hospital in Lewiston, ME that was working with Veterans in need of Cervicai,
Thoracic, and Lumbar surgery. His name was Marc Christensen. Ms. Forti said 'ihat she
would schedule me to see him as soon as possible. A follow-up visit was scheduled for
the upcoming week. At that next appointment, i was told that Dr. Christensen had too
many patients waiting to see him, but said she would continue to try and get me in as
quickly as possible. Unfortunateiy, this went on for what seemed like an eternity. lt
started out as days that went into weeks, then into months. Each time i would meet with

Case 1:12-cv-00329-.]AW Document 1 Filed 10/25/12 Page 4 of 7 PageiD #: 4

Ms. Forti, she would continue to say that Dr. Christensen was booked solid with patients
and wasn’t accepting new patients.

During this time l was waiting to meet with Dr. Christensen, l tried to keep up with
my daily routine; cleaned up around the house as best l couid, driving myself to work in
Waterviiie, shopped for groceries and other routine things. There were several days that
while l would try to do my job, l would have to leave early because the pain threshold
was far more than l could handle while trying to serve customers and lost pay. l was laid
off from seasonal employment at the end of February 2008. From that point on, l was
unemployed and broke.

After months of waiting, l finally met with Dr. Christensen near the end of April
2008. He started to talk with me about my injury and pulled up the image of the MRI. As
Dr. Christensen started looking at it, l said that the image was taken in February. He
shook his head in disbelief and was surprised that he wasn’t informed sooner of my
condition. He went onto immediately schedule me for pre-op testing and surgery. Dr.
Christensen had his own protocol to follow with regards to scheduling me. lt would still
take another month in May 2008 before i finally had the necessary surgery.

Finaliy, the day of surgery arrived. As i was being prepped for surgery, Dr.
Christensen came up to me to say that he was going to do his very best and was
confident in his ability to repair my neck but added that l could die or become paralyzed
because of lthe serious damage that had been done to the spinal cord. l’ve had plenty of
surgeries prior to this, and signed statements “in the event of my death” before, but
never have l had a surgeon actually come to me and say l could die. i was scared. This
was by far the most serious surgery l ever had to undergo.

As l came out of surgery, Dr. Christensen told me l was lucky to be alive. He said
that he removed about 23 bone fragments and that my spinal cord was on the brink of
being severed that could have led to my death or becoming a quadriplegic.

l spent the next 8 weeks wearing a hard collar, living on my own, and being taken
care of by a nurse that came over 2-3 times a week to clean the wound and change the
bandage. This was a very trying period of time for me as i had no job prior to the
surgery, no money for basic living expenses except for what was coming from family
members, and the continued threat of losing my house to foreclosure. My family helped
to pay for some bilis, and food, but it did not include the mortgage

During the time leading up to and after the surgery, l was trying to get a service
connected disability from the VA and also from Sociai Security. l would also continue to

Case 1:12-cv-00329-.]AW Document 1 Filed 10/25/12 Page 5 of 7 PageiD #: 5

try and find work, now that my neck was starting to feel better. But everything failed. l
would be denied the VA disability and Sociai Security would not be granted. The years l
spent as a state employee did not contribute towards Sociai Security and so that had a
major impact on the decision. My family continued to provide some financial support.

Though l was denied Sociai Security, l would still pursue it by attaining a new
lawyer to represent me. The first attempt with the new lawyer also failed, but then he
asked me to consider filing for a temporary disability due to the ADHD, depression,
stress, and anxiety that l been suffering from since leaving employment with the State of
Maine. My neck and arm were also starting to have the pain return to much of the same
tingling and numbing l was suffering before the surgery. l also started to have
numbness, tingling, and painful throbbing from the nerves. The spinal cord has been
permanently damaged and l believe this to be the reason for my continued pain. All of
these issues did eventually lead to being awarded temporary disability status in August
2010.

ln October 2010, l went onto trying to start a new life and moved west to Arizona;
hoping things would improve. l was there for about 7 months before moving to Texas at
the end of May 2011. After about 31/2 months in Texas, l finally got scared and asked my
family to help me return to Maine in September 2011.

l was invited to return to L.L. Bean for seasonal employment that started in
October 2011. As l was working, l would look for other work, but l continued to be
unsuccessful at finding other work.

The economy has continued to cause me problems with little income and being
unable to pay for the very basic needs in life. l have not held a full time job now for more
than 7 years. When i have tried to find work, l would often be passed over for younger
people who could offer a company a possible longer tenure and one with less health
risks like l am. My family has continued to help me financiaiiy.

Because of the limited mobility problems l face every day with my neck, arm, and
feet, it is very difficult for me to find work. l have trouble trying to keep up with daily
routines without having some part of my body to be in pain because of the activity l did.

Since the surgery on the neck, l have developed nerve damage with the Uina
and Sciatica, and almost every muscle has been affected with some form of pain. l also
have a pelvic tilt with my right hip, scoliosis in the mid portion of the back, and
degenerative disks in that same area. These symptoms were most likely there before

Case 1:12-cv-00329-.]AW Document 1 Filed 10/25/12 Page 6 of 7 PageiD #: 6

the neck surgery, but l believe the conditions have been intensified because of the
damage to my neck and spinal cord.

l want very much to return to the workforce in some capacityl but ali of my health
issues are having serious impact on getting the work needed just to meet basic living
expenses. l have completely lost ali confidence in my ability to get the work l need, and
l am quickly approaching “senior citizen” status with less than a year to go before l am
55. With the continued physical pain and mental suffering, i have little doubt in my ability
to ever lead a productive life again.

l was not aware of the limited period of time to file the Federai Tort Ciaim through
the Veterans Administration and the Regional Counsel. As i already noted, l was
attempting to receive a service-connected VA Disabiiity and a Sociai Security Disabiiity
during the period of time that l was within the Statute of Limitations. l signed a Release
of lnformation, giving the Regional Counsel full access to view my medical records for
that period of time. l don’t believe they ever investigated the evidence. They were
upholding the laws governing the Statute of Limitations. i am sorry for my ignorance to
my understanding of a Tort Ciaim and the period of time l had to fiie. But l believe l
should still get full consideration given the continued daily health problems l experience
from post-surgery pain. This was not a simple elective surgery that would not impact my
life from having a procedure delayed months out from their knowledge of the damage
done to my cervical spine. This was surgery that required immediate and urgent
intervention. My life was in serious jeopardy.

My seasonal job with L.L. Bean will end either at the end of December, or l could
possibly be allowed to stay on through January or February. When it does happen; if a
decision from the U.S. District Court has not already been ruled on, l will be without a
job and struggling to live once again and imp|oring my family to help me.

l hope you are able to reach a favorable decision for me in a swift and timely
manner. As l mentioned at the beginning of this compiaint, l will accept whatever you
will a||ow me for a settlement. l want very much to be able to live on my own terms that
don’t include any intervention from my immediate family in a financial capacity in any
wayl shape, or form. l want so much to repay my family for ali they help they have
provided for me, and repay all my debtors. if it hasn’t been for my family up to this point,
l don’t know where i would be. l will just say that they are not pleasant thoughts.

if, Your Honor, you can find me to receive a favorable decision, l can give myself
some much-needed relief from the constant worry about how l am going to live from
day-to-day. Stress, depression and anxiety levels should decline making every day

Case 1:12-cv-00329-.]AW Document 1 Filed 10/25/12 Page 7 of 7 PageiD #: 7

living more toierabie. Then maybe i could try to slowly return to the workforce and start
earning a living, thus restoring the confidence in myself and becoming an active
member of society. l would also give time in doing some volunteer work by helping
someone else in need, like a fellow veteran needing a ride to get to a doctor’s
appointment. Or maybe provide backup clerical support for an office on a volunteer
basis somewhere

l feel l deserve something for the 5 most painful and scariest months that l have
ever endured because of a broken neck, and risking at any given moment either sudden
death, or becoming a quadriplegic and being wheelchair-bound for the rest of my life. it
was simply a miracle that nothing happened while l waited for surgery. God was
definitely watching over me.

Thank you very much Your Honor in giving my claim the serious consideration it
deserves. l look forward to your decision at your earliest possible convenience.

Sincerely,

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Gera|d Linwood Rogers

